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                 SCHEDULED FOR ORAL ARGUMENT JANUARY 13, 2025

                                     December 20, 2024

 Via CM/ECF

 Mark J. Langer
 Clerk of Court
 U.S. Court of Appeals for the
  District of Columbia Circuit
 333 Constitution Avenue, NW
 Washington, D.C. 20001

          Re:    Twin Metals Minnesota, LLC v. United States, No. 23-5254

  Dear Mr. Langer:

        Twin Metals writes in response to the government’s December 19, 2024 Rule 28(j)
 letter that purports to document the Forest Service’s refusal to consent to Appellants’
 preference-right-lease applications.

        This correspondence is not properly before the Court. The Bureau of Land
 Management (BLM) denied Twin Metals’ preference-right-lease applications on October
 21, 2021. JA234. “[R]eviewing courts must judge the propriety of agency action solely by
 the grounds invoked by the agency.” Calcutt v. FDIC, 598 U.S. 623, 624 (2023) (cleaned
 up). The Forest Service’s December 18, 2024 letter is not part of the administrative record,
 nor did BLM invoke the letter when it denied Twin Metals’ preference-right-lease
 applications over three years ago. JA234.

        Moreover, the Forest Service’s letter appears to constitute new, unlawful, arbitrary
 and capricious agency action that is subject to an independent APA challenge. Twin Metals
 Br. 59 (citing APA challenges to Forest-Service-consent denials). The Forest Service’s
 purported consent denial is riddled with administrative-law problems, including that it
 issued three years after the final agency action challenged here. See JA234.

       We also note that on December 4, 2024 undersigned counsel asked government
 counsel whether it might be amenable to seeking postponement of argument given the
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potential uncertainty from the change of administration. The government that same day
said no. Based on the unusual nature and timing of the government’s submission, the Court
may wish to hold this appeal in abeyance pending further developments.


                                                      Respectfully submitted,

                                                      /s/ Lisa S. Blatt
                                                      Lisa S. Blatt


cc: Counsel of Record (via CM/ECF)
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                            CERTIFICATE OF COMPLIANCE

         I, Lisa S. Blatt, counsel for appellants Twin Metals Minnesota LLC and Franconia
 Minerals (US) LLC, hereby certify, pursuant to Federal Rule of Appellate Procedure
 28(j), that the foregoing letter contains 233 words. I further certify that this letter complies
 with the typeface requirements of Rule 32(a)(5) and type style requirements of Rule
 32(a)(6) because it has been prepared in the proportionally spaced typeface, Century
 Expanded BT, size 12.


                                                            /s/ Lisa S. Blatt
                                                            Lisa S. Blatt
December 20, 2024




                               CERTIFICATE OF SERVICE

        I, Lisa S. Blatt, counsel for appellants Twin Metals Minnesota LLC and Franconia
 Minerals (US) LLC, hereby certify that on December 20, 2024, I electronically filed the
 foregoing document with the Clerk of Court for the United States Court of Appeals for
 the District of Columbia Circuit by using the CM/ECF system, causing the document to
 be served on all counsel of record, as all counsel of record are registered CM/ECF users.


                                                            /s/ Lisa S. Blatt
                                                            Lisa S. Blatt
